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           UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF NEW YORK

           D.G. SWEIGERT,

                                   Plaintiff,
                                                              23 Civ. 5875 (JGK)
           v.
                                                              NOTICE OF MOTION TO
           JASON GOODMAN, et al.,                             ADMIT COUNSEL PRO HAC VICE

                                   Defendants.



           To: The Clerk of the Court and All Parties of Record:

                  PLEASE TAKE NOTICE that, under Rule 1.3 of the Local Rules of the United States

           Courts for the Southern and Eastern Districts of New York, Kenneth M. Trujillo-Jamison hereby

           moves this Court for an order for admission to practice pro hac vice as counsel for Defendant X

           Corp., as successor in interest to named defendant Twitter, Inc., in the above-captioned action.

                  PLEASE TAKE FURTHER NOTICE that I am a member in good standing of the State

           Bar of California, I have never been convicted of a felony, I have never been censured,

           suspended, disbarred, or denied admission or readmission by any court, and there are no pending

           disciplinary proceedings against me in any state or federal court. I have attached my affidavit

           under Local Rule 1.3.



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                                             Respectfully submitted,

                                             WILLENKEN LLP

                                              /s/ Kenneth M. Trujillo-Jamison
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                                             Los Angeles, CA 90017
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                                             Attorneys for Defendant X Corp., as
                                             successor in interest to named defendant
                                             Twitter, Inc.

                                             Dated: November 3, 2023




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